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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2023, a true and correct copy of the foregoing was served
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